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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSE`.:ETSW
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CIVIL ACTION NO. 01-40137NMG

 

TERRY W. ROY,
Plaintiff

V.

CITY OF GARDNER, CHARLES J. MANCA,
lndividually and in his Capacity as Mayor of the
City of Gardner, and JAMES E. DUFORT,
Individually and in his Capacity as Chief of Police
for the City of Gardner,

Defendants

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PLAINTIFF’S MEMOR.ANDUM IN SUPPORT OF HIS
OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

I. INTRODUCTION

Plaintiff Terry W. Roy’s ten-count Complaint alleges that Defendants City of
Gardner, Charles J. Manca, J ames E. Dufort, and Roger Wrigley defamed the Plaintiff’s
character, invaded the Plaintiff’ s privacy, intentionally and negligently inflicted
emotional distress upon the Plaintiff, violated the Plaintiff’s state and federal civil rights,
interfered with the Plaintift` s business/advantageous relations, maliciously prosecuted the
Plaintiff and wrongful]y instituted process against him, violated contractual Oingations

owed to the Plaintiff, and otherwise dealt With the Plaintiff unfairly and in bad faith.

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The Defendants allege that the Plaintiff’s Complaint fails to state a claim upon Which
relief can be granted and seek the dismissal of all ten counts brought by the Plaintiff

under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

II. STATEMENT OF RELEVANT ALLEGATIONS

The Defendant claims that the Plaintift"s Complaint generally alleges that the
Defendants violated the Plaintiff’s civil rights and committed various torts when the
Plaintiffwas terminated from his position as a police officer and after the Plaintiff’s
firearms license Was revoked. The Defendants also allege that the Plaintiff` s Complaint
“does not contain a statement of facts but, merely asserts various counts against the
defendants.” Both of these assertions fail to accurately describe the Plaintiff` s claims.
The Plaintiff’s ten-count Complaint alleges specific conduct on the part of the respective
Defendants that, once proven, Will entitle the Plaintiff to relief. Accordingly, the
Defendants’ Motion to Dismiss for failure to state a claim upon Which relief can be

granted is without merit and should be denied.

III. STATEMENT OF (DISPUTED) FACTS

The Defendants, ignoring the factual allegations made in the Plaintiff’s Complaint,
claim the existence of undisputed facts. Citing factual findings made by the Worcester
Superior Court as a result of a Writ of certiorari for review of a District Court decision
relating to the revocation of the Plaintiff’s firearms license and other facts found outside
the pleadings, the Defendants suggest that Judge Hillman’s findings are not in dispute

and that no other facts, aside from the findings of fact from the Worcester Superior Court,

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are significant to the Plaintiff’s claims. Both of these suggestions are without merit. The
Plaintiff` s Complaint clearly puts the factual findings of` Judge Hillman in dispute. As
the same relate to the Plaintiff’ s civil claims, this Court is not bound by any of the
Judge’s factual determinations Moreover, additional factual allegations advanced in the
Plaintiff’s Complaint reveal that the Plaintiff"s claims are not based, as suggested by the
Defendants, solely upon the circumstances the Defendants now characterize as
undisputed facts.

The Plaintiff alleges that the Defendants defamed his character and accuses the
Defendants of willfully and maliciously publishing false, misleading, and libelous
material relating to the Plaintiff"s conduct as a police officer, his public and private
conduct, his suitability for licensing for and possession of firearms, his moral fitness and
veracity, his juvenile and adult court history, his military record, his application for a
firearms license under state law, his character, his personal and private relationships, his
compliance with state law, and obedience to municipal dog law(s). (Plaintiff’ s
Complaint, Count I, 118).

The Plaintiff also claims that the Defendants unreasonably, substantially, and
seriously interfered with his privacy by receiving and disseminating material contained in
or that should have been contained in his personnel file in accordance with state law, and
information concerning the Plaintiff‘s conduct as a police officer, his public and private
conduct, his suitability for office, his suitability for firearms possession and licensing, his
moral fitness and veracity, his record of involvement with police departments and courts

as an adult and juvenile, his military record, his application for a firearms license, his

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character, and his personal and private relationshipsl (Plaintiff’ s Complaint, Count II,
'[[‘|[ l 2~ l 3).

The Plaintiff also alleges that the Defendants subjected him to treatment that was
extreme, outrageous, and intended to cause emotional distress. (Plaintiff’s Complaint,
Count III, 1[17). The Complaint also alleges that Defendants City of Gardner, Charles
Manca, and J ames Dufort recklessly and/or negligently inflicted emotional distress upon
the Plaintiff when they failed to supervise and train elected and appointed employees, as
well as agents, officers, supervisors, managers, and other employees in matters unrelated
to the Plaintiff" s employment or the employment interests of the City. (Plaintiff’s
Complaint, CountVI,1l1l34-36). The Plaintiff further alleges that, to his detriment, the
City negligently hired and/or retained personnel in relation to matters unrelated to the
Plaintiff’ s employment or the employment interests of the City. (Plaintiff’s Complaint,
Count VI, 1137).

The Plaintiff also claims that his state civil rights were violatedl (Plaintiff’s
Complaint, Count IV). The Complaint alleges that the Defendants, acting at times
pursuant to municipal policy and under color of law, deprived him of or interfered with
and/or attempted to interfere with his constitutional right to bear arms, his statutory due
process right to a review of his termination from employment, his statutory right to
possess a firearms license, his constitutional and statutory rights to be free from invasions
into his personal and private affairs, his statutory and constitutional procedural and
substantive due process rights, and other rights privileges and immunities secured by
constitutional and statutory provision. (Plaintiff` s Complaint, Count IV, 111[21-25and

Count V, 1129).

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Plaintiff Terry W. Roy also alleges that Defendants Charles Manca and J ames
Dufort intentionally interfered With his contractual relationship and business expectations
with the City of Gardner and that they induced, aided, and encouraged the City to breach
contracts governing the Plaintiff" s employment and agreements between the City of
Gardner and the Plaintiff. (Plaintiff" s Complaint, Count VII, 1144).

The Plaintiff also claims that the Defendants availed themselves of processes with
ulterior motives and for illegitimate purposes, abused their offices, and maliciously and
intentionally instituted criminal, civil, contractual, investigative, administrative, and/or
statutory proceedings against him in an attempt to harass, coerce, and intimidate him into
abandoning his position and/or for the purpose of interfering with the Plaintiff’s effort to
retain his employment, to obtain an unfair advantage over the Plaintiff in a labor dispute,
and/or to avoid contractual and statutory burdens or requirements, and/or to effectuate the
wrongful, unwarranted, and unjust removal of the Plaintiff from his position as a police
officer. (Plaintiff’s Complaint, Count VIII, 1148-49).

Count lX of the Plaintiff’ s Complaint alleges that Defendants City of Gardner,
Charles Manca, and J ames Dufort violated a June 1999 agreement with the Plaintiff when
they described and/or disclosed the content of the agreement to third parties when the
same was not necessary to the enforcement of the agreement and when it utilized and/or
relied upon reasons previously advanced to discipline the officer to deny the Plaintiff a
firearms license and to terminate the Plaintiff from his municipal position. (Plaintiff’s

Complaint, Count IX, 1{1]53-59).

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Finally, the Plaintiff also accuses Defendants City of Gardner, Charles Manca,
and J ames Dufort of breaching a covenant of good faith and fair dealing owed to him.
(Plaintiff’ s Complaint, Count X).

With all of these unchallenged allegations in mind, the Defendants’ attempt to
characterize the facts they advance in their Motion to Dismiss as “undisputed” is
unpersuasive and wholly without merit. Additionally, the facts advanced by the
Defendants are not found in any pleading and should, considering the present stage of
litigation, be excluded by the Court in accordance with Rule lZ(b) of the Federal Rules of
Civil Procedure. Presently, there appears to be many genuine material issues of fact that
divide the parties. Moreover, the Defendants have not challenged the facts alleged in the
Plaintiff’s Complaint, Accordingly, the Defendants’ Motion to Dismiss should be
denied. Since the Defendants have not challenged the Plaintiff" s factual allegations, it is
also inappropriate for the Court to treat their Motion as one for Summary judgment,
particularly when the parties have not yet had the opportunity to engage in meaningful

discovery or to present all relevant material for the Court’s consideration.

III. ARGUMENT

A motion to dismiss tests the legal sufficiency of a complaint, not the likelihood of
ultimate succesS. Accordingly, a complaint must not be dismissed “unless it appears
beyond a doubt that the plaintiff can prove no set of facts in support of his claim which
would entitle him to relief. Cannev v. City of Chelsea, et al, 925 F.Supp. 58, 63
(D.Mass.l996) citing, Conley v. Gibson, 355 U.S. 4l, 45-46, 78 S.Ct. 99, 102, 2 L.Ed.2d

80 ( 1957). If a complaint sufficiently states a cause of action, in accordance with the law

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under any theory, the court must deny a motion to dismiss. ld¢ at 63, citing Wehringer v.

Powers & Hall P.C., 874 F.Supp. 425, 427 (D.Mass.l995) (quoting Knight v. Mills, 836

 

F.Zd 659, 665 [lSt Cir. 1987]). Since each of the ten counts found in the Plaintiff"s
Complaint contain factual allegations that, if proven, will entitle him to relief under
recognized theories of law, dismissal is inappropriate and the Defendants’ motion must
be denied.

1. Violations of 42 U.S.C. 1983

 

A. Violations of 42 U.S.C. 1983 Generally

The Plaintiff’ s federal civil rights claim alleges that the Defendants’ conduct was
committed under color of law and that the same deprived him Of rights secured by our
federal Constitution and federal laws. Accordingly, the Plaintiff’ s federal civil rights
claims satisfy the pleading standard argued by the Defendants and there is no basis for
dismissal of the Plaintiff" s civil rights claims.

B. Due Process

The Defendants allege that post-deprivation remedies afforded the Plaintiff under
state law render any due process claim defectivel This would be true if the Plaintiff were,
in fact, afforded due process. However, the Plaintiff here is not adequately protected by
state law and has specifically requested that the Court declare that Massachusetts General
Laws, Chapter 31, §41, Chapter 4l, §98, and Chapter 140, §131 are, as applied to the
Plaintiff, unconstitutional and act to deprive him due process and equal protection under
state and federal law. Accordingly, the Defendants’ arguments concerning due process

must be ignored and dismissal is clearly not justified

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C. Equal Protection
ln order to maintain an equal protection claim, the Defendants argue that the
Plaintiff must show that, in relation to similarly situated people, he was selectively
treated and that such treatment was based upon impermissible considerations or
malicious or bad faith intent to injure the Plaintiff. See, e.g., Rubinovitz v. Rogato,
60 F.3d 906, 909-910 (lSt Cir.l 995). Despite the Defendants’ characterization of the
Complaint, the Plaintiff clearly states that his equal protection rights were violated
and that the deprivation resulted from impermissible considerations or malicious
intent and/or bad faith. (Plaintiff" s Complaint, Counts I-V). The Defendants also
state that the Plaintiff must, in order for liability to attach to the City of Gardner,
establish that a deprivation of rights resulted from an official custom, practice or
policy of the municipality The Plaintiff is aware of this requirement and specifically
alleges violations of his civil rights resulting from municipal policy. (Plaintif`f"s
Complaint, Count V).
D. § ] 983 Claims against Cin ofGara’ner
The Plaintiff" s federal civil rights claim alleges that the Defendants’ conduct Was
committed under color of law and that the same deprived him of rights secured by our
federal Constitution and federal laws. Accordingly, the Plaintiff’ s federal civil rights
claims satisfy the pleading standard argued by the Defendants and there is no basis for
dismissal of the Plaintiff’ s claim. The Plaintiff is entitled to prove this allegation and the

Court must, under these circumstances, give him that opportunity and deny the

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Defendants’ Motion to Dismiss. See, e.g., Cannev v. City of Chelsea1 et al, 925 F.Supp.
58, 63 (D.Mass.l996).

E. Qualifiea' Immunity

The Defendants’ claims of qualified immunity are not an appropriate basis for
dismissal of civil rights claims under Rule l2(b)(6) of the Federal Rules of Civil
Procedure, particularly where the Plaintiff’s Complaint specifically alleges that the
conduct of the individual Defendants was unreasonable and extreme and otherwise
violated his statutory and constitutional rights. (Plaintiff’s Complaint, Counts I-X). If
proven, the Plaintiff" s claims of unreasonable conduct will likely deprive the individual
Defendants of immunity. It is important to remember that the immunity enjoyed by the
Defendants is qualified, not absolute. Again, the Plaintiff is entitled to prove his
allegations and to pursue all viable claims against the Defendants. See, e.g., Canney v.

City of Chelsea, et al, 925 F.Supp. 58, 63 (D.Mass.l996).

2. Violations of M.G.L. c. ll§H and I

A. MCRA Claims Against Individuals

The Defendants allege that the Plaintiff’ s Complaint fails to allege that he was
threatened, coerced or intimidated by the individual Defendants. This is simply untrue.
The Plaintiff’ s Complaint specifically accuses all of the Defendants of interfering and/or
attempting to interfere with his rights through intimidation, threat, and/or coercion.
(Plaintiff’ s Complaint, Count IV, 1l‘1]22-23). As previously noted, the Plaintiff is entitled
to prove his allegations and to pursue all viable claims against the Defendants. See, e.g.,
Cannev v. City of Chelsea. et al, 925 F.Supp. 58, 63 (D.Mass.l996). Accordingly,

dismissal is, again, not warranted.

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B. MCRA Claims Against City

Citing Howcroft v. Citv of Peabody, 51 Mass.App.Ct. 573 (2001), the Defendant
maintains that a municipality is not a “person” within the meaning of the Massachusetts
Civil Rights Act and the Plaintiff" s state Civil Rights Act claims against the City must be
dismissed Although they claim the Howcroft holding reaffirmed a long-standing
proposition, the Defendants neglect to remind the Court that this recent decision is
contradicted by the holding of Brodericl< v. Roach. et al, 803 F.Supp. 480 (D.Mass.l992)
and attempts to answer a question that the Supreme J udicial Court of Massachusetts
declined, in Swanset Development Corp. v. City of Taunton, 423 Mass. 390, 668 N.E.2d
333 (1996), to answer. Accordingly, it is clear that municipal liability under the
Massachusetts Civil Rights Act remains uncertain. Accordingly, the Plaintiff contends
that dismissal, at this time, is inappropriate
3. Constitutionalitv of M.G.L. c. 140. 6131

A.- B. F ederal and State Law

The Plaintiff maintains that Massachusetts General Laws, Chapter l40, §131,
Chapter 41 , §98, and Massachusetts General Laws, Chapter 31, §41 are, as applied to
him, unconstitutional Since these statutes do not, when applied to the Plaintiff, provide
adequate due process, the Court is asked to evaluate the constitutionality of these
provisions under the unique circumstances accompanying this case. The Defendants
claim that state and federal law require the dismissal of the Plaintiff’ s request for
declaratory relief, The Defendants contend that the right to carry a Weapon is not
constitutionally protected and, accordingly, the Plaintiff has suffered no harm as a result

of the revocation of his license. This argument fails to acknowledge the clear sentiment,

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found in the very cases cited by the Defendants to support dismissal, that an individual
with a property interest in a firearms license should receive greater protection. For
example, the Defendants direct this Honorable Court to Conway v. King, 718 F.Supp.
1059 (D.N.H.1989), which recognizes that where, as is the case with this Plaintiff, a
refusal to issue a firearms license imposes some stigma or other disability that results in
the foreclosure of employment opportunities, a protected liberty interest is likely
implicated Similarly, the Defendants direct the Court’s attention to Nichols v. County of
Santa Clara, 273 Cal. Reptr. 84 (1990), which discusses the property interest an
individual, like the Plaintiff, has in a license to carry a weapon when the same is made a
condition or requirement of his profession, occupation, business, or employment. Since,
a license to carry a firearm was made a condition of his employment, since the revocation
of the Plaintiff" s license and the process accompanying the same so clearly damaged his
reputation, since the revocation clearly stigmatizes the Plaintiff and interferes with his
ability to secure future employment, and since state law does not, under the circumstance,
afford the Plaintiff adequate protection, the Plaintiff”s requests for declaratory relief are
appropriate and dismissal, at this time, is simply not justified
4. Massachusetts Tort Claims Act Claims Against City

The Plaintiff agrees that the Defendant municipality is immune from claims of
intentional torts. However, willful, wanton, and reckless conduct entitling the Plaintiff to
relief will not necessarily support a dismissal under the Massachusetts Torts Claim Act.
See, e.g, Molinaro v. Town of Northbridge, 643 N.E.Zd 1043, 419 Mass. 278 (1995).
Accordingly, dismissal of the Plaintiff’s claims against the Defendant municipality is, at

this time, not appropriate The Plaintiff is entitled to pursue his claims, utilize the

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discovery process, and, where necessary, amend his Complaint to allege appropriate

relief.

5. lntentional Tort Claims Against lndividuals

A. Interference with Contractual Relations
The Defendants contend that the Plaintiff has not established a prima facie case of
intentional interference with business/advantageous relations. However, a motion to
dismiss, as previously discussed, tests the legal sufficiency of a complaint, not the
likelihood of ultimate success. Accordingly, a complaint must not be dismissed “unless it
appears beyond a doubt that the plaintiff can prove no set of facts in support of his claim
which would entitle him to relief. Cannev v. City of Chelsea, et al, 925 F.Supp. 58, 63
(D.Mass.1996) citing, Conley v. Gibson, 355 U.S. 4l, 45-46, 78 S.Ct. 99, 102, 2 L.Ed.2d
80 (l957). Since the Plaintiff’s Complaint contains factual allegations that, if proven,
will entitle him to relief for intentional interference with business/advantageous relations,
dismissal is inappropriate
B. Defamation
The Defendants, apparently arguing for summary judgment based upon matters
outside the pleadings, contend that the Plaintiff will not be able to produce enough
evidence to reach a jury. Since the Plaintiff’s Complaint contains factual allegations that,
if proven, will entitle him to relief for defamation of character and since, if proven,
allegations made against the individual Defendants would strip them of any conditionally
privilege or limited immunity, dismissal and, at this stage, summary judgment are

inappropriate See, e.g., Cignetti v. Healey, et al, 89 F. Supp.2d 106, 126~127 (2000)

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(conditional privilege of supervisor or co-worker lost if made in bad faith, with malice, or
where abuse of privilege is established).

C. Malicious Prosecution/Abuse of Process

The Defendants’ claim that the Plaintiff has failed to allege the institution of criminal
proceedings against him and that the Plaintiff has not advanced facts that would Warrant
an abuse of process claim. These assertions are simply unfounded The Plaintiff does
specifically allege that the Defendants, with malice and for unlawful purposes, instituted
criminal, civil, contractual, municipal, investigative, administrative, and statutory
proceedings against him. (Plaintiff’ s Complaint, Count VIII, ‘|1‘1[48-49). Since the
Plaintiff" s Complaint contains factual allegations that, if proven, will entitle him to relief
for malicious prosecution and/or abuse ofprocess, dismissal is inappropriate. See, e.g.,
Canney v. City of Chelsea, et al, 925 F.Supp. 58, 63 (D.Mass.l996) citing, Conley v.
§Yg)n, 355 U.S.41, 45-46, 78 S.Ct. 99, 102, 2 L.Ed.2d 80 (l957).

C. Invasion of Privacy

If proven, the Plaintiff’ s claims of invasion of privacy would most certainly entitle
him to relief. The Plaintiff"s Complaint alleges violations of constitutional statutory, and
contractual privacy rights. T he facts, as they appear in the Plaintiff`s Complaint, remain
unchallenged The Defendants cannot, through a general denial of the Plaintiff` s claims,
satisfy the standard for dismissal Again, dismissal and, at this time, summary judgment
should not be granted, particularly when the request is based upon facts that do not
appear in any pleading. The Court should exclude the Defendants’ alleged facts and deny

their request for dismissal.

 

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E. Intentional Injliction of Emotional Distress

The Plaintiff s allegations, if proven, will likely demonstrate that the Defendants (l)
intended to inflict emotional distress or knew (or should have known) that emotional
distress would result from their actions; (2) that their conduct was extreme and
outrageous and utterly intolerable in a civilized society; (3) that the Plaintiff suffered
emotional distress as a result of the Defendants’ actions; and (4) that the emotional
distress suffered by the Plaintiff was severe and of a nature that no reasonable person
could be expected to endure See, e.g., Agis v. Howard Johnson Co., 37l Mass. 140, 355
N.E.Zd 315, 318-319 (1976). The Defendants claim that the individual Defendants were
acting pursuant to statutory authority. This claim fails to recognize that the Plaintiff’ s
Complaint places that allegation into dispute and cannot serve as the basis for dismissal

or summary judgment With all of this in mind, the Defendants’ motion must be denied

IV. CONCLUSION

A motion to dismiss tests the legal sufficiency of a complaint, not the likelihood of
ultimate success. Accordingly, a complaint must not be dismissed “unless it appears
beyond a doubt that the plaintiff can prove no set of facts in support of his claim which
would entitle him to relief. Cannev v. City of Chelsea. et al. 925 F.Supp. 58, 63
(D.Mass.l996) citing, Conley v. Gibson, 355 U.S. 41, 45-46, 78 S.Ct. 99, 102, 2 L.Ed2d
80 (l957). If a complaint, such as the one filed here by the Plaintiff, sufficiently states a
cause of action under any theory, the court must deny a motion to dismiss, Ld at 63,
citing Wehringer v. Powers & Hall, P.C., 874 F.Supp. 425, 427 (D.Mass.l995) (quoting

Knigl_rt v. Mill , 836 F.2d 659, 665 [lSt Cir. 1987]). Since each of the ten counts found in

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the Plaintiff"s Complaint contain factual allegations that, if proven, will entitle him to
relief under recognized theories of law, dismissal is inappropriate and the Defendants’
Motion to Dismiss must be denied Similarly, summary judgment is not, where the
Plaintiff` s factual allegations are not disputed and where the Defendants are advancing
matters outside of the pleadings, appropriate

Respectfully Submitted

TERRY W. ROY.
By His Attomey

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International Brotherhood of Police Officers

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November 28, 2001

 

CERTIFICATE OF SERVICE

I, Michael B. Halpin, hereby certify that true copies of the attached memorandum
in support of his Opposition, together with that Opposition and its supporting documents
were served, via first class mail and postage prepaid, upon J ames W. Simpson, Counsel
for the Defendants, at Merrick, Louison & Costello, 67 Batterymarch Street, Boston, l\/[A
02110, this 28th day ofNovember 2001.

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/Michael§. Halpin /

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